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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


                                                   Lead Case: 1:19-cv-02170 (Consolidated)
 IN RE: ETHIOPIAN AIRLINES FLIGHT ET
 302 CRASH                           Honorable Jorge L. Alonso

                                                   Magistrate Judge M. David Weisman



                                       JOINT REPORT

       On December 16, 2022, this Court set a final pretrial conference for March 3, 2023, and
ordered the parties to submit a proposed schedule for pretrial briefing. Accordingly, the parties
propose the following schedule for this Court’s consideration.

                         Pretrial Motion Deadlines (Expert Motions)
 Opening Briefs                                February 8, 2023
 Response Briefs                               February 22, 2023
 Reply Briefs                                  March 1, 2023

                               Motion in Limine Deadlines
 Motions in Limine Exchanged                 February 17, 2023
 Meet and Confer                             TBD – Week of February 20
 Motion in Limine Oppositions Exchanged      February 27, 2023
 Motions in Limine Filed                     February 27, 2023

                                   Pretrial Order Deadline
 Proposed Final Pretrial Order                  February 27, 2023

       Dated: December 22, 2022

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